                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


FARHAD AZIMA,                                 )
                                              )
              Plaintiff,                      )
                                              )
       v.                                     )            1:20CV954
                                              )
NICHOLAS DEL ROSSO and VITAL                  )
MANAGEMENT SERVICES, INC.,                    )
                                              )
              Defendants.                     )


                       ORDER AND RECOMMENDATION
                    OF UNITED STATES MAGISTRATE JUDGE

       This matter comes before the undersigned magistrate judge for a recommended ruling

on a motion to dismiss by Defendants Nicholas Del Rosso and Vital Management Services,

Inc. (collectively “Defendants”) pursuant to Federal Rule of Civil Procedure 12(b)(6).

(Docket Entry 31.) Also pending before the Court are three motions by Plaintiff Farhad

Azima: 1) a motion for leave to file supplemental materials in support of his response to

Defendants’ motion to dismiss (Docket Entry 45); 2) a motion to schedule an initial pretrial

conference and to initiate Rule 26(f) and Local Rule 16.1(f) conferences, or in the alternative,

for an order commencing discovery pending a pretrial conference to be set on a later date

(Docket Entry 36); and 3) a renewed motion to schedule an initial pretrial conference or

commence discovery (Docket Entry 52). For the following reasons, the undersigned will

recommend denying Defendants’ motion to dismiss as to Counts III, VIII, X, and XI of

Plaintiff’s complaint but will recommend granting Defendants’ motion as to Plaintiff’s other

seven claims. Additionally, the undersigned will deny Plaintiff’s motion to supplement his
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response to Defendants’ motion to dismiss and grant in part Plaintiff’s motions to schedule

an initial pretrial conference and commence discovery.

I. BACKGROUND

       Plaintiff initiated this action against Defendants on October 15, 2020. (See Compl.,

Docket Entry 1.) Plaintiff, a U.S. citizen who resides in Kansas City, Missouri, alleges that

Defendants “oversaw and directed the hacking of Plaintiff” and “stole [his] computer data,

including emails and trade secrets.” (Compl. ¶¶ 1, 10.) Defendant Del Rosso is the president,

owner, and sole employee of Defendant Vital Management Services, Inc. (“Vital”), a

company based in Chapel Hill, North Carolina that provides investigative services. (Id. ¶¶ 11-

12.)

       To summarize the allegations in the complaint, Plaintiff alleges that in early 2015 the

Ras Al Khaimah Investment Authority (“RAKIA”), the state investment entity for the

government of Ras Al Khaimah with whom Plaintiff was engaged in a business dispute,

began to discuss a plan with its associates to “target” Plaintiff. (Id. ¶¶ 2, 7, 14.) To that end,

Plaintiff alleges that Defendants were hired by Dechert LLP through partner Neil Gerrard to

hack Plaintiff on behalf of RAKIA. (Id. ¶¶ 2, 7.) Plaintiff alleges that Defendants in turn

hired an Indian company called CyberRoot Risk Advisory Private Limited (“CyberRoot”)

and paid CyberRoot more than one million dollars to orchestrate the sending of phishing

and spear-phishing emails to Plaintiff, which “successfully induced [him] to unwittingly

provide . . . passwords for his accounts.” (Id. ¶¶ 2, 5, 6.) Plaintiff alleges that another India-

based hacking company called BellTroX InfoTech Services (“BellTroX”) assisted CyberRoot

in hacking Plaintiff. (Id. ¶ 3.) As a result, data from Plaintiff’s computers and emails


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accounts was disclosed on internet blog sites on or about August 7, 2016. (Id. ¶¶ 6, 20.) In

May and June 2018 and again in June 2019 the blog sites were modified to include new links

to publicly available sites containing Plaintiff’s stolen data.” (Id. ¶¶ 24-26, 53.)

       Plaintiff alleges that RAKIA’s goal in hiring Defendants to coordinate the hacking of

Plaintiff was to “weaponize that data in an attempt to ruin [Plaintiff]” and to use the stolen

data as evidence in a lawsuit against Plaintiff in England. (Id. ¶¶ 2, 7.) Plaintiff alleges that

during the English lawsuit, which was initiated by RAKIA in September 2016, Defendant

Del Rosso and others “created a false evidentiary trail to cover up their and RAKIA’s

responsibility for the hacking” and to suggest that the hacked material had been innocently

found. (Id. ¶¶ 7, 22, 33.) Plaintiff raised the hacking as a defense in that lawsuit, in addition

to using it as the basis of a counterclaim against RAKIA. (Id.) Plaintiff asserts that the

English court ruled that RAKIA and others “had lied about how they obtained [Plaintiff’s]

stolen data. (Id. ¶ 8.) In particular, Plaintiff alleges that Defendant Del Rosso gave false

testimony denying knowledge of how the stolen emails were obtained. (Id.) Plaintiff alleges

that as a result of Defendants’ actions, Plaintiff has suffered “significant financial and

reputational damage.” (Id. ¶ 9.)

       Based on these allegations, Plaintiff raises federal law claims for violations of the

Electronic Communications Privacy Act (“Wiretap Act”) (Count I), conspiracy to disclose

communications obtained in violation of the Wiretap Act (Count II), and misappropriation

of trade secrets (Count III) against all Defendants, in addition to North Carolina state law

claims for computer trespass (Count IV), conversion (Count V), identity theft (Count VI),

publication of personal information (Count VII), violation of the Trade Secrets Protection


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Act (VIII), violation of the Unfair and Deceptive Trade Practices Act (IX), civil conspiracy

(Count X), and invasion of privacy (Count XI). (Id. ¶¶ 44-139.)

       Defendants filed the foregoing motion to dismiss on December 21, 2020. (Docket

Entries 31.) Plaintiff filed a response in opposition, and Defendants filed a reply. (Docket

Entries 34, 39.) Several weeks later, Plaintiff filed a motion to supplement his response in

opposition to Defendants’ motion to dismiss. (Docket Entry 45.) Defendants oppose

Plaintiff’s motion. (Docket Entry 47.) Plaintiff also filed a motion requesting that the Court

schedule an initial pretrial conference in this matter, or in the alternative issue an order

commencing discovery pending the scheduling of an initial pretrial conference. (Docket

Entry 36.) Defendants also oppose this motion. (Docket Entry 43.) All four motions are

ripe for disposition. The undersigned will address each in turn.

II. DISCUSSION

   A. Defendants’ Motion to Dismiss

       Defendants move to dismiss Plaintiff’s complaint pursuant to Federal Rule of Civil

Procedure 12(b)(6). (See Docket Entry 31.) A motion to dismiss pursuant to Rule 12(b)(6)

tests the sufficiency of the complaint. Edwards v. City of Goldsboro, 178 F.3d 231, 243 (1999).

A complaint that does not “contain sufficient factual matter, accepted as true, to ‘state a

claim to relief that is plausible on its face’” must be dismissed. Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (quoting Bell Atlantic v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct.” Id.; see also Simmons v.

United Mortg. & Loan Inv., LLC, 634 F.3d 754, 768 (4th Cir. 2011) (“On a Rule 12(b)(6)


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motion, a complaint must be dismissed if it does not allege enough facts to state a claim to

relief that is plausible on its face.”) (citations and quotations omitted). The “court accepts all

well-pled facts as true and construes these facts in the light most favorable to the plaintiff,”

but does not consider “legal conclusions, elements of a cause of action, and bare assertions

devoid of factual enhancement[,] . . . unwarranted inferences, unreasonable conclusions, or

arguments.” Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250, 255 (4th Cir. 2009)

(citations omitted). In other words, the standard requires a plaintiff to articulate facts, that,

when accepted as true, demonstrate the plaintiff has stated a claim that makes it plausible he

is entitled to relief. Francis v. Giacomelli, 588 F.3d 186, 193 (4th Cir. 2009) (quoting Iqbal, 556

U.S. at 678, and Twombly, 550 U.S. at 557).

       A motion to dismiss pursuant to Rule 12(b)(6) must be read in conjunction with

Federal Rule of Civil Procedure 8(a)(2).       Rule 8(a)(2) requires only “a short and plain

statement of the claim showing that the pleader is entitled to relief,” so as to “give the

defendant fair notice of what the . . . claim is and the grounds upon which it rests . . . .”

Twombly, 550 U.S. at 555 (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)). Rule 8 does not,

however, unlock the doors of discovery for a plaintiff armed with nothing more than

conclusions. Fair notice is provided by setting forth enough facts for the complaint to be

“plausible on its face” and “raise a right to relief above the speculative level on the

assumption that all the allegations in the complaint are true (even if doubtful in fact) . . . .”

Id. at 555 (internal citations omitted). “Rule 12(b)(6) does not countenance . . . dismissals

based on a judge’s disbelief of a complaint’s factual allegations.” Id. at 556 (quoting Scheuer v.

Rhodes, 416, U.S. 232, 236 (1974)).


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       In their initial brief in support of their motion to dismiss, Defendants argued that

dismissal of Plaintiff’s complaint in its entirety is warranted for three reasons: 1) Plaintiff’s

claims are time-barred; 2) Plaintiff’s action is barred by claim and issue preclusion; and 3)

Plaintiff’s complaint fails to state claims for relief under both federal and North Carolina

law. (See generally Docket Entry 32.) However, Plaintiff notified the Court in his motion to

supplement his response in opposition to Defendant’s motion to dismiss that the judgment

against him in the High Court of Justice Business and Property Courts of England and

Wales is now on appeal. (Docket Entry 49.) In light of this new development, Defendants

have withdrawn their preclusion argument “without prejudice to its later assertion.” (See

Docket Entry 50 at 1.)1 Thus, the undersigned addresses below whether Plaintiff’s claims as

alleged are time-barred, and if not, whether they plausibly entitle him to relief, but will not

address whether Plaintiff’s claims are precluded.

       1. Are Plaintiff’s claims time-barred?

       Defendants first argue that Plaintiff’s eleven claims are time-barred by the applicable

statute of limitations. (Docket Entry 32 at 7-8.) (Id.) A statute of limitations defense “can

be the basis of a motion to dismiss under Rule 12(b)(6).” Dickinson v. Univ. of N.C., 91 F.

Supp. 3d 755, 763 (M.D.N.C. 2015) (citing Dean v. Pilgrim’s Pride Corp., 395 F.3d 471, 474 (4th

Cir. 2005)). However, for a statute-of-limitations defense to succeed at the motion to

dismiss stage, “all facts necessary to show the time bar must clearly appear ‘on the face of

the complaint.’” Id. (citing Goodman v. Praxair, Inc., 494 F.3d 458, 464 (4th Cir. 2007); see also

Morrison v. George E.B. Holding, No. 7:11-CV-168-BO, 2012 WL 1132787, at *3 (E.D.N.C.

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         Page numbers in this recommendation refer to the page numbers found at the bottom
right-hand corner of the litigation documents as they appear in this Court’s CM/ECF system.
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Apr. 4, 2012) (“Generally, an affirmative defense that a complaint is barred by a statute of

limitations may not form the basis of Rule 12(b)(6) dismissal unless all of the facts necessary

for the defense appear on the face of the complaint.”).

       The parties do not dispute the statute of limitations periods that apply to each of

Plaintiff’s eleven claims. (See Docket Entry 34 at 3 n. 1; Docket Entry 32 at 7-8.) Plaintiff’s

claim brought pursuant to the North Carolina Unfair and Deceptive Trade Practices Act,

N.C. Gen. Stat. § 75-1.1, has a four-year statute of limitations. See N.C. Gen. Stat. § 75-16.2.

Plaintiff’s federal misappropriation of trade secrets claim brought pursuant to 18 U.S.C. §§

1831, 1832, 1836 has a three-year limitations period. See 18 U.S.C. § 1836(d). The majority

of Plaintiff’s North Carolina state law claims also have a three-year limitations period. See

N.C. Gen. Stat. § 1-52(4) (conversion); N.C. Gen. Stat. § 1-539.2C(c) (identity theft and

publication of personal information); N.C. Gen. Stat. § 66-157 (Trade Secrets Protection

Act); N.C. Gen. Stat. § 1-52(5) (invasion of privacy); BDM Investments v. Lenhil, Inc., 826

S.E.2d 746, 764 (N.C. Ct. App. 2019) (civil conspiracy). A two-year limitations period

applies to Plaintiff’s claims brought pursuant to the Wiretap Act.              See 18 U.S.C. §§

2511(1)(c), 2520(e). Finally, Plaintiff’s computer trespass claim is subject to a one-year

statute of limitations. See N.C. Gen. Stat. § 14-458; N.C. Gen Stat. § 1-54.

       However, Defendants argue in their brief that the statute of limitations for each of

Plaintiff’s actions had accrued by September 2016 at the latest, when Plaintiff became aware

that he had been hacked and initiated a separate lawsuit against RAKIA in the United States

District Court for the District of Columbia. (Docket Entry 32 at 8.) Thus, because all of

Plaintiff’s claims are subject to a statute of limitations of four years or less and he did not file


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the instant lawsuit until October 2020, Defendants argue that none of Plaintiff’s claims were

timely filed and they should all be dismissed on that basis. (Id. at 7-9.) In response, Plaintiff

argues that his claims are not time-barred because: 1) Defendants fraudulently concealed

their misconduct, thus tolling the statute of limitations; and 2) Defendants engaged in

actionable conduct more recently than 2016. (Docket Entry 34 at 4, 6.)

       Upon a careful review of the complaint and the parties’ arguments, the undersigned

only recommends dismissing two of Plaintiff’s claims as time-barred at this early stage in the

litigation. Plaintiff’s eleven claims are subject to various distinct accrual rules. For example,

Plaintiff’s federal Wiretap Act claims (Counts I and II) accrued when plaintiff “first [had] a

reasonable opportunity to discover the violation.” 18 U.S.C. § 2520(e). Likewise, Plaintiff’s

federal misappropriation of trade secrets action (Count III) accrued on the date that “the

misappropriation with respect to which the action would relate is discovered or by the

exercise of reasonable diligence should have been discovered.”             18 U.S.C. § 1836(d).

Plaintiff’s state Trade Secret Protection Act (Count VIII), civil conspiracy (Count X), and

invasion of privacy (Count XI) claims follow similar accrual rules based on the discovery of

the violation.2

       Though Defendants assert that Plaintiff became aware of the hacking in September

2016 at the latest when he filed a lawsuit related to the hacking in the District of Columbia,


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           Plaintiff’s misappropriation of trade secrets claim accrued when “the misappropriation
complained of [was] or reasonably should have been discovered.” N.C. Gen. Stat. § 66-157.
Plaintiff’s common law civil conspiracy and common law invasion of privacy claims appear to have
accrued when “physical damage to his property becomes apparent or ought reasonably to have
become apparent to the claimant, whichever event first occurs.” Alexander v. City of Greensboro, No.
1:09-CV-293, 2011 WL 3360644, at *13 n. 21 (M.D.N.C. Aug. 3, 2011) (citing N.C. Gen. Stat. § 1–
52(16)).
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the complaint itself does not include allegations specifying when Plaintiff discovered the

hacking or Defendants’ involvement, nor does it mention the lawsuit he filed in the District

of Columbia. Thus, the undersigned is unable to determine from the face of Plaintiff’s

complaint precisely when such claims accrued and therefore does not recommend dismissing

Counts I, II, III, VIII, X, and XII on statute of limitations grounds. See Waugh v. Elan Fin.

Serv., No. CV 3:17-4378, 2018 WL 2976430, at *5 (S.D.W. Va. June 13, 2018) (“[T]he Court

therefore cannot determine from the face of the Complaint the date of accrual of Plaintiffs’

causes of action. Where it is not clear from the face of the Complaint whether the statute of

limitations has run, dismissal is inappropriate.”) (citing Goodman, 494 F.3d at 466).

       In addition, as Plaintiff points out (see Docket Entry 34 at 6), his identity theft and

publication of personal information claims (Counts VI and VII) accrued on the date that he

discovered, or reasonably should have discovered, the identity of the wrongdoers. See N.C. Gen.

Stat. § 1-539.2C(c).     Plaintiff’s complaint alleges that he did not become aware of

Defendants’ involvement in the hacking until “recently.” (Compl. ¶ 36; see also id. ¶ 127

(“Plaintiff discovered that Defendants committed unfair and deceptive acts or practices that

injured him on or about August 28, 2020 following an investigation.”).) Accepting this

statement as true, the statute of limitations had not run when Plaintiff filed this lawsuit just

two months later in October 2020. Alternatively, whether Plaintiff “reasonably should have

discovered” Defendants’ identity earlier cannot be determined from the face of the

complaint.   Plaintiff does not describe his efforts to discover Defendants’ identity or

involvement prior to August 2020, and it is not apparent that the type of investigation that

revealed Defendants’ involvement on or about August 28, 2020 could have been conducted


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beforehand. Therefore, the undersigned finds that dismissing these two claims (Counts VI

and VII) on statute of limitations grounds is also inappropriate.

       Plaintiff’s unfair and deceptive trade practices claim (Count IX) accrued “when the

violation occur[red].” Hetzel v. JPMorgan Chase Bank, N.A., No. 4:13-CV-236-BO, 2014 WL

7336863, at *3 (E.D.N.C. Dec. 22, 2014) (citing Hinson v. United Fin. Servs., Inc., 473 S.E.2d

382, 387 (N.C. Ct. App. 1996)). Plaintiff alleges that “Defendants published Azima’s private

information on blog sites hosting WeTransfer links in May and June of 2018, and again in

June of 2019” and alleges that the publication of his confidential information constitutes a

violation of N.C. Gen. Stat. § 75-1.1. (Compl. ¶¶ 93, 122.) Given that the statute of

limitations for an unfair and deceptive trade practices claim is four years, see N.C. Gen. Stat.

§ 75-16.2, and Plaintiff has alleged a violation of this statute as recently as 2019, dismissal of

Count IX of Plaintiff’s complaint as time barred is not warranted.

       The only claims that may appropriately be dismissed as time barred at this stage in the

litigation are Plaintiff’s state law computer trespass (Count IV) and conversion (Count V)

claims. As alleged in Plaintiff’s complaint, Defendants committed computer trespass by

using Plaintiff’s “computer and computer network with the intent to make or cause to be

made unauthorized copies of Plaintiff’s computer data.” (Compl. ¶¶ 75-79.)3 In support of

this claim, Plaintiff alleges that Defendants instructed CyberRoot to hack Plaintiff’s

computer and computer network. (Id. ¶ 79.) CyberRoot gained access to Plaintiff’s email


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           See N.C. Gen. Stat. § 14-458(5) (“[I]t shall be unlawful for any person to use a
computer or computer network without authority and with the intent to . . . [m]ake or cause
to be made an unauthorized copy, in any form, including, but not limited to, any printed or
electronic form of computer data, computer programs, or computer software residing in,
communicated by, or produced by a computer or computer network.”).
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accounts and computers and used that access to make copies of Plaintiff’s “trade secrets,

confidential business information, and personal information and communications that would

provide Defendants and their co-conspirators leverage over Plaintiff.” (Id. ¶ 78; see also id. ¶¶

14-18.) The hacking occurred on or before August 7, 2016. (See id. ¶¶ 20-21.)

       The undersigned has been unable to locate a specific accrual rule for computer

trespass claims but notes that “[a] cause of action generally accrues and the statute of

limitations begins to run as soon as the right to institute and maintain a suit arises.” Hunter v.

Guardian Life Ins. Co. of Am., 593 S.E.2d 595, 601 (N.C. Ct. App. 2004) (quoting Penley v.

Penley, 332 S.E.2d 51, 62 (N.C. 1985)). The statute of limitations for a computer trespass

claim is only one year. See N.C. Gen. Stat. § 1-539.2A and § 1-54. While it is not clear from

the face of the complaint exactly when Plaintiff became aware that he had been hacked, it is

clear from the face of the complaint that Plaintiff had this knowledge more than one year

before the instant lawsuit was filed. The complaint states that RAKIA initiated a lawsuit

against Plaintiff in September 2016 and Plaintiff used the hacking as a defense and as the

basis for a counterclaim. (See Compl. ¶¶ 7, 33.) The complaint mentions that the English

case went to trial in January 2020.        (Id. ¶ 34.)   These dates indicate that Plaintiff’s

counterclaim, which would have required him to have knowledge of the hacking, was filed

more than a year before the instant lawsuit.

       Furthermore, the complaint does not contain any allegation that Plaintiff’s computers

or accounts were hacked again following the original hacking that occurred on or before

August 7, 2016. While Plaintiff has alleged that Defendants took actions to publish or

disseminate Plaintiff’s stolen data in 2018 and 2019 (see Compl. ¶ 93), Plaintiff has not


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indicated that Defendants accessed Plaintiff’s computer or computer networks with the

intent to make new unauthorized copies on those dates or any more recently so as to restart

the statute of limitations. Therefore, it is clear from the face of the complaint that Plaintiff

had “the right to institute and maintain a suit” for computer trespass more than one year

prior to the filing of this lawsuit on October 15, 2020.        Accordingly, the undersigned

recommends dismissing Plaintiff’s computer trespass claim (Count IV) as time barred.

       Regarding plaintiff’s conversion claim, Plaintiff correctly states in his complaint that

“[u]nder North Carolina law, conversion occurs when a defendant wrongfully possesses or

converts property under the ownership of the Plaintiff.” (Compl. ¶ 83.) See also Intercollegiate

Women’s Lacrosse Coaches Ass’n v. Corrigan Sports Enterprises, Inc., 505 F. Supp. 3d 570, 585–86

(M.D.N.C. 2020) ) (“The two essential elements of [a conversion] claim are (1) ownership in

the plaintiff and (2) wrongful possession or conversion by the defendant.” (citing Variety

Wholesalers, Inc. v. Salem Logistics Traffic Servs., LLC, 723 S.E.2d 744, 747 (N.C. 2012)).

Plaintiff alleges that Defendants “conspired to wrongfully obtain and exercise possession of

Plaintiff’s computer data, documents, spreadsheets, communications, and other files.”

(Compl. ¶ 84.) Defendants instructed CyberRoot to hack Plaintiff, and upon the successful

hack, “converted Plaintiff’s computer data.” (Id. ¶ 85.)

       “As a general rule, [a conversion] claim accrues, and the statute of limitations begins

to run, when the unauthorized assumption and exercise of ownership occurs—not when the

plaintiff discovers the conversion.” Ferro v. Vol Vo Penta of the Americas, LLC, No. 5:17-CV-

194-BO, 2017 WL 3710071, at *4 (E.D.N.C. Aug. 28, 2017), aff’d sub nom. Ferro v. Volvo Penta

of the Americas, LLC, 731 F. App’x 208 (4th Cir. 2018) (quoting Celgard, LLC v. LG Chem,


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Ltd., No. 3:14-CV-00043-MOC-DC, 2015 WL 2412467, at *16 (W.D.N.C. May 21, 2015));

see also First Invs. Corp. v. Citizens Bank, Inc., 757 F. Supp. 687, 690 (W.D.N.C. 1991), aff’d, 956

F.2d 263 (4th Cir. 1992) (“The general rule thus appears to be that conversion actions accrue

upon the conversion itself rather than upon its discovery.”). Thus, Plaintiff’s conversion

claim accrued at the time that Defendants converted his computer data, which according to

the complaint, occurred on or before August 7, 2016. (Compl. ¶¶ 20-21.) Since the statute

of limitations for conversion claims is three years, see N.C. Gen. Stat. § 1–52(4), and

Plaintiff’s complaint does not allege that Defendants took possession of any additional data

or documents of Plaintiff’s during the three years preceding the filing of this lawsuit, the

undersigned recommends that Plaintiff’s conversion claim (Count V) be dismissed on statute

of limitations grounds.

       The undersigned does not find that fraudulent concealment by Defendants precludes

the operation of the statutes of limitations as to these two claims. As both parties suggest in

their briefs (see Docket Entry 34 at 5; Docket Entry 39 at 2 n. 2), and consistent with this

Court’s reasoning in Jones v. BMW of N. Am., LLC, because these two claims are subject to

North Carolina statutes of limitations, “North Carolina tolling laws may be the more

appropriate law for decision” for these state law claims. No. 1:20-CV-00057, 2020 WL

5752808, at *4 n. 4 (M.D.N.C. Sept. 25, 2020) (citing Hemenway v. Peabody Coal Co., 159 F.3d

255, 265 (7th Cir. 1998) (“When state law supplies the period of limitations, it also supplies

the tolling rules.”)). According to North Carolina law, the doctrine of equitable estoppel

may “preclude a defendant’s pleading of the statute of limitations” where a plaintiff can

establish the following elements as related to the party estopped:


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               (1) Conduct which amounts to a false representation or
               concealment of material facts, or, at least, which is reasonably
               calculated to convey the impression that the facts are otherwise
               than, and inconsistent with, those which the party afterwards
               attempts to assert; (2) intention or expectation that such
               conduct shall be acted upon by the other party, or conduct
               which at least is calculated to induce a reasonably prudent
               person to believe such conduct was intended or expected to be
               relied and acted upon; (3) knowledge, actual or constructive, of
               the real facts.

Wilkerson v. Christian, No. 1:06CV00871, 2008 WL 483445, at *7, 11 (M.D.N.C. Feb. 19,

2008) (quoting Hawkins v. M. & J. Fin. Corp., 77 S.E.2d 669, 672 (N.C. 1953)). In addition,

as related to the party claiming the estoppel, a plaintiff must show:

               (1) lack of knowledge and the means of knowledge of the truth
               as to the facts in question; (2) reliance upon the conduct of the
               party sought to be estopped; and (3) action based thereon of
               such a character as to change his position prejudicially.

Id. For equitable estoppel to apply, “a plaintiff must plead supporting facts with particularity

and demonstrate that defendant’s representations delayed her from filing suit.” Worrell v. A

Woman’ s View, P.A., No. 518CV00178MOCDSC, 2019 WL 427336, at *3 (W.D.N.C. Feb. 4,

2019) (citing Duke Univ. v. St. Paul Mercury Ins. Co., 384 S.E.2d 36, 42 (N.C. Ct. App. 1989)). 4


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           To some extent, North Carolina courts have also recognized fraudulent
concealment as a separate basis for tolling the statute of limitations. Wilkerson, 2008 WL
483445, at *11 (“The Supreme Court of North Carolina has, by implication, approved of the
doctrine of fraudulent concealment as a tolling doctrine.”) (collecting cases). However, in
both Jones and Wilkerson, this Court has noted that there is some confusion among North
Carolina courts as to the effect of fraudulent concealment on a statute of limitations and the
elements that must be shown to invoke it. See Jones, 2020 WL 5752808, at *4 n. 4 (“North
Carolina courts do not typically recognize fraudulent concealment as a mechanism for tolling
the statute of limitations . . . .”); Wilkerson, 2008 WL 483445, at *11 n. 13 (“The parties did
not cite, nor was the court able to identify, a North Carolina decision that fully sets forth the
elements of fraudulent concealment as a tolling doctrine [as opposed to a cause of action for
actual fraud].”). The undersigned has not identified a more recent North Carolina decision
that clarifies these issues. Moreover, the parties appear to agree that the proper standard for
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       Here, the undersigned does not find that Plaintiff has alleged sufficient facts in his

complaint to establish the element of reliance that is necessary to invoke the North Carolina

doctrine of equitable estoppel to preclude the application of the statute of limitations to his

computer trespass and conversion claims.         As previously mentioned, Plaintiff accuses

Defendant Del Rosso of attempting “to lay a false ‘paper trail’ of discovery” by exchanging

emails with Gerrard in August 2016 and falsely denying his involvement in the hacking

during the English proceedings. (Compl. ¶¶ 35-36.) However, Plaintiff has not alleged how

or why this “false paper trail” prevented him from filing suit against Defendants within the

limitations period. The complaint contains no indication that the “false” emails exchanged

by Gerrard and Defendant Del Rosso effectively deceived Plaintiff into believing that some

entity other than RAKIA and its agents was responsible for the hacking.

       Furthermore, to the extent that Plaintiff grounds his fraudulent concealment

arguments in the false witness statement and testimony given by Defendant Del Rosso in

conjunction with the English proceedings, these statements do not appear to have been

made until the year 2020 (see Compl. ¶¶ 8, 34), at which point the one-year statute of

limitations for Plaintiff’s computer trespass claim and the three-year limitations period for



analyzing Plaintiff’s state law claims, regardless of how they have named it, is the equitable
estoppel standard recited herein. (See Docket Entry 34 at 5; Docket Entry 39 at 2 n. 2 (citing
Ferro v. Vol Vo Penta of the Americas, LLC, No. 5:17-CV-194-BO, 2017 WL 3710071, at *4
(E.D.N.C. Aug. 28, 2017), aff’d sub nom. Ferro v. Volvo Penta of the Americas, LLC, 731 F. App’x
208 (4th Cir. 2018) (reciting equitable estoppel elements).) Finally, to the extent that
fraudulent concealment has been recognized by North Carolina courts as a tolling doctrine, a
plaintiff must still “allege reliance on the defendant’s misrepresentations or omissions.”
Wilkerson¸2008 WL 483445 at *12. Because the undersigned has determined that Plaintiff
has not sufficiently alleged reliance, application of the doctrine of fraudulent concealment
would not alter the result reached herein.

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Plaintiff’s conversion claim would have already run. Thus, Plaintiff cannot plausibly argue

that his reliance on such statements prevented him from filing his computer trespass and

conversion claims in a timely manner. In sum, Plaintiff has made no specific allegations

explaining how he relied upon Defendant’s false statements to his detriment. Without such

allegations, Plaintiff cannot meet his burden of proving the essential elements of equitable

estoppel. See Bankaitis v. Allstate Ins. Co., 229 F. Supp. 3d 381, 387 (M.D.N.C. 2017) (“It is

the party asserting equitable estoppel who bears the burden of proving the essential

elements.”) (citing State Farm Mut. Auto. Ins. Co. v. Atl. Indem. Co., 468 S.E.2d 570, 575 (N.C.

Ct. App. 1996)). The undersigned finds that the doctrines              of equitable estoppel and

fraudulent concealment do not preclude the normal operation of the statutes of limitations

that apply to Plaintiff’s computer trespass and conversion claims.5                 Therefore, the

undersigned recommends dismissing Plaintiff’s computer trespass (Count IV) and

conversion (Count V) claims as time barred. As to the other nine claims, the undersigned

will discuss below whether they state a plausible claim for relief as alleged.




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           Plaintiff’s second argument in response to Defendants’ contention that all his claims are
time-barred is that Defendants engaged in actionable conduct within the relevant limitation periods.
(See Docket Entry 34 at 6-8.) The paragraphs in the complaint that Plaintiff argues describe
“actionable conduct” that allegedly occurred in 2018 and 2019 state that “[i]n May and June 2018,
the blog sites [where Plaintiff’s data had originally been posted] were modified to include new links
to WeTransfer sites that contained copies of Azima’s stolen data” and that again, “[i]n June 2019,
the links on the blog sites were modified to include new WeTransfer links containing some of
Azima’s stolen data. (Compl. ¶¶ 24, 26.) These actions in 2018 and 2019 involve the publication
and disclosure of the originally stolen data. (Id. ¶¶ 23, 53, 93, 98.) Because, as explained above,
Plaintiff’s computer trespass and conversion claims are tied to the actual hacking in 2016 (and not
the subsequent dissemination of the data), Plaintiff’s argument is unavailing as to these two counts.


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       2. Do Plaintiff’s surviving claims state plausible claims for relief?

              a. Wiretap Act (Count I)

       Plaintiff brings his first claim pursuant to the federal Electronic Communications

Privacy Act (“Wiretap Act”). (Compl. ¶¶ 44-53.) The subsection of the law referenced in

Count I of Plaintiff’s complaint prohibits a person from

              intentionally disclos[ing[, or endeavor[ing] to disclose, to any
              other person the contents of any wire, oral, or electronic
              communication, knowing or having reason to know that the
              information was obtained through the interception of a wire,
              oral, or electronic communication in violation of this
              subsection.

18 U.S.C. § 2511(1)(c). “Furthermore, section 2520 allows the victim of the interception to

bring a civil action against the section 2511 violator.” DirecTV, Inc. v. Benson, 333 F. Supp. 2d

440, 447 (M.D.N.C. 2004); see also 18 U.S.C. § 2520. Plaintiff alleges that Defendants

              directed CyberRoot to intentionally disclose large quantities of
              Azima’s intercepted data by instructing that the data be posted
              on BitTorrent and WeTransfer. Links to those BitTorrent and
              WeTransfer sites were added to the blog sites that CyberRoot
              created. CyberRoot worked with BellTroX and at the direction
              of the Defendants to conduct the hacking and post the
              intercepted data.

(Compl. ¶ 49.) Plaintiff further alleges that Defendants knew or had reason to know that the

information was obtained through interception. (Id. ¶ 52.)

       Defendants argue that Plaintiff fails to state a claim “because there is no civil liability

for secondary or conspiracy conduct” under the Wiretap Act. (Docket Entry 32 at 17.)

Defendants point out that Plaintiff “does not allege that Defendants themselves intercepted,

disclosed, or used Azima’s data [but rather] that CyberRoot and/or BellTroX did so.” (Id.


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(emphasis in original) (citing Compl. ¶¶ 16-19.) Indeed, regarding civil damages the Wiretap

Act provides that in general, “any person whose wire, oral or electronic communication is

intercepted, disclosed, or intentionally used in violation of this chapter may in a civil action

recover from the person or entity, other than the United States, which engaged in that violation such

relief as may be appropriate.” 18. U.S.C. § 2520(a) (emphasis added). The Tenth Circuit and

Fifth Circuits have interpreted this language as precluding liability for aiders and abettors.

See Kirch v. Embarq Mgmt. Co., 702 F.3d 1245, 1246 (10th Cir. 2012); Peavy v. WFAA-TV, Inc.,

221 F.3d 158, 169 (5th Cir. 2000); but see Lonegan v. Hasty, 436 F. Supp. 2d 419, 427-28

(E.D.N.Y. 2006) (concluding that § 2520 permits suits based on procurement). In their

analysis, the Tenth and Fifth Circuits point to the fact that a prior version of the law

“imposed both criminal and civil liability for those who procured an interception.” Kirch, 702

F.3d at 1247 (citing 18 U.S.C. § 2511(1)(a) (1968)) (emphasis added)).                However, an

amendment in 1986 removed the procurement language from the civil liability provision,

limiting civil liability to the person that “engaged in that violation.” Peavy, 221 F.3d at 169

(quoting 18 U.S.C. § 2520(a)) (“Accordingly, ‘that violation’ refers only to illegal interception,

disclosure, or use, and not to procuring interception by another.”) (emphasis in original).

       While the Fourth Circuit has not addressed whether § 2520 authorizes suits based on

procurement, see Attkisson v. Holder, 925 F.3d 606, 623 (4th Cir. 2019), as amended (June 10,

2019) (acknowledging “lack of settled precedent” on this issue), several district courts in this

Circuit have followed the Tenth and Fifth Circuits’ reasoning. See Motise v. Am. Online, Inc.,

No. CIV.A. 04-1494, 2005 WL 1667658, at *4 (E.D. Va. June 24, 2005) (dismissing

plaintiff’s claim because the Wiretap Act “does not recognize a cause of action for aiding and


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abetting a primary violator, and the Act does not create any secondary liability” and plaintiff

only alleged that defendant enabled a third party to intercept communications, rather than

alleging that defendant intercepted such communications itself); Buckingham v. Gailor, No. 00-

CV-1568, 2001 WL 34036325, at *6 (D. Md. Mar. 27, 2001), aff’d sub nom. Buckingham ex rel.

Buckingham v. Gailor, 20 F. App’x 243 (4th Cir. 2001) (concluding that an action based on

procurement “is no longer available under 18 U.S.C. § 2520, as a result of amendments

passed by Congress in 1986”). The undersigned is persuaded by the reasoning of these

courts and finds that the weight of authority supports dismissing Wiretap Act claims based

on procurement.

       Plaintiff argues in response that Defendants are primarily liable under the Wiretap

Act because they themselves “disclosed and endeavored to disclose” Plaintiff’s intercepted

communications. (Docket Entry 34 at 14.) To support this argument, Plaintiff points to

allegations in the complaint stating that Defendants were hired to hack Plaintiff and were

part of a plan to attack him. (Id. (citing Compl. ¶¶ 14-15.) However, in the allegations

supporting Plaintiff’s Wiretap claim brought pursuant to 18 U.S.C. § 2511(1)(c), Plaintiff

clearly alleges that Defendants “directed CyberRoot to intentionally disclose large quantities

of Azima’s intercepted data” and that CyberRoot created the blog sites where the data was

published and uploaded the stolen data.           (Compl. ¶¶ 49-52 (“[Defendants] gave the

instructions to CyberRoot to intercept Azima’s data and paid CyberRoot more than $1

million to conduct the hack and publish the stolen data.”).6 These allegations clearly show


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          To the extent that the complaint contains other general allegations that Defendants were
personally involved in the interception and disclosure of Plaintiff’s data, such allegations lack the
particularity required to state a plausible claim for relief and conflict with other more specific
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that Defendants procured CyberRoot to intercept Plaintiff’s stolen data and did not engage in

the interception themselves. The undersigned therefore recommends dismissing Count I of

Plaintiff’s complaint on this basis and will not address Defendants’ alternative arguments for

dismissal of this claim.

               b. Conspiracy in violation of the Wiretap Act (Count II)

       Count II of Plaintiff’s complaint raises a claim for conspiracy to disclose and use

intercepted communications in violation of the Wiretap Act and 18 U.S.C. § 371. (See

Compl. ¶¶ 54-58.) Plaintiff alleges that Defendants conspired with CyberRoot and others to

intercept and disclose Plaintiff’s data. (Id. ¶ 55.) More specifically, Plaintiff alleges that

“Defendants Del Rosso and Vital paid more than $1 million for the interception of Azima’s

data [and] agreed and conspired to disclose the intercepted data by instructing CyberRoot to

publish the data on blog sites that were created by CyberRoot.” (Id.)

       In their brief in support of their motion to dismiss, Defendants addressed Counts I

and II simultaneously, arguing as described above that the Wiretap Act precludes liability for

secondary or conspiracy conduct, in addition to raising two other arguments involving

extraterritoriality and Plaintiff’s failure to plead “interception.” (See Docket Entry 32 at 16-

19.) The undersigned finds, however, that Plaintiff’s Count II should be dismissed because

18 U.S.C. § 371 is a federal criminal statute that does not provide Plaintiff with a private

cause of action. See, e.g., Sanders v. GNC Holdings, Inc., No. 5:20-CV-00238-D, 2020 WL



allegations in the complaint attributing this conduct to CyberRoot. (See, e.g., Compl. ¶ 92
(“Defendants knowingly broadcast or published personal information of Azima on the internet.”);
but see id. ¶¶ 19-32 (alleging that Defendants paid CyberRoot $1 million to hack and distribute
Plaintiff’s data and that CyberRoot used specific usernames to create blog sites and upload the
data.).)
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5792462, at *3 (E.D.N.C. July 8, 2020), report and recommendation adopted, No. 5:20-CV-238-D,

2020 WL 5770851 (E.D.N.C. Sept. 28, 2020) (“A federal prosecutor could bring charges

against a defendant for conspiracy to commit an offense against or an attempt to defraud the

United States, but 18 U.S.C. § 371 does not create a private cause of action.”); Bey ex rel

Graves v. Richmond Redevelopment & Hous. Auth., No. 3:13CV464-HEH, 2013 WL 4066945, at

*5 (E.D. Va. Aug. 9, 2013) (“18 U.S.C. § 371 criminalizes the act of conspiring to commit a

crime against the United States; it does not create a cause of action for individuals alleging

conspiracy.”). Thus, the undersigned recommends that Count Two of Plaintiff’s complaint

be dismissed for failure to state a claim.

               c. Misappropriation of Trade Secrets (Count III)

       Plaintiff raises a claim for misappropriation of trade secrets against Defendants

pursuant to the Defend Trade Secrets Act (“DTSA”), 18 U.S.C. §§ 1831, 1832, 1836. (See

Compl. ¶¶ 59-74.) As Defendants have properly argued (see Docket Entry 32 at 20 n. 9), 18

U.S.C. §§ 1831 and 1832 are federal criminal statutes that do not provide a private right of

action. See, e.g., Rogers v. LJT & Assocs. Inc., No. CV GLR-14-2823, 2015 WL 11027599, at *3

n. 4 (D. Md. Apr. 21, 2015); Steves & Sons, Inc. v. JELD-WEN, Inc., 271 F. Supp. 3d 835, 840-

43 (E.D. Va. 2017); Lopez v. MUFG Union Bank, N.A., No. SACV151354JLSKESX, 2016

WL 9686990, at *6 (C.D. Cal. Mar. 30, 2016) (“Claims under sections 1831 and 1832 of Title

18 invoke a criminal statute without a private right of action.”). Thus, any action brought by

Plaintiff under these provisions fail to state a claim and should be dismissed at the outset.

       Section 1836(b)(1) of the DTSA provides that “[a[n owner of a trade secret that is

misappropriated may bring a civil action under this subsection if the trade secret is related to


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a product or service used in, or intended for use in, interstate or foreign commerce.” Thus,

to prevail on a misappropriation claim, Plaintiff must allege that: “(1) [he] owns a trade secret

which was subject to reasonable measures of secrecy; (2) the trade secret was

misappropriated by improper means; and (3) the trade secret implicates interstate or foreign

commerce.” Philips N. Am. LLC v. Hayes, No. CV ELH-20-1409, 2020 WL 5407796, at *7

(D. Md. Sept. 9, 2020).

       Defendants argue that Count III fails to state a claim because: 1) the DTSA does not

provide for conspiracy liability; 2) Plaintiff has not alleged with the required specificity that

his hacked data contained trade secrets or implicated interstate or foreign commerce; and

3) Plaintiff’s claim is barred because the misappropriation he complains of occurred prior to

the DTSA’s enactment May 2016. (See Docket Entry 32 at 19-22.)

       In making their first argument, Defendants rely on Steves & Sons, Inc. v. JELD-WEN,

Inc., in which the Eastern District of Virginia, engaged in statutory interpretation and

determined that a private right of action does not exist under 18 U.S.C. § 1832(a)(5), which

prohibits conspiracy to engage in the theft of trade secrets. See 271 F. Supp. 3d at 840-43.

Several federal district courts have agreed with JELD-WEN’s interpretation and have

dismissed civil DTSA claims to the extent that they were based on conspiracy or secondary

liability. See Genentech, Inc. v. JHL Biotech, Inc., No. C 18-06582 WHA, 2019 WL 1045911, at

*12 (N.D. Cal. Mar. 5, 2019); Broidy Cap. Mgmt. LLC v. Muzin, No. 19-CV-0150 (DLF), 2020

WL 1536350, at *13 (D.D.C. Mar. 31, 2020); C-Ville Fabricating, Inc. v. Tarter, No. 5:18-CV-

379-KKC, 2019 WL 1368621, at *14 (E.D. Ky. Mar. 26, 2019). While definitive binding

authority on this issue is lacking, the undersigned agrees that “the weight of authority tips


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against the viability of conspiracy claims based on misappropriation of trade secrets under

the DTSA.” NW Monitoring LLC v. Hollander, No. C20-5572 RSM, 2021 WL 1424690, at *5

(W.D. Wash. Apr. 15, 2021). Thus, to the extent that Plaintiff’s DTSA claim is based on the

actions of co-conspirators (see Compl. ¶¶ 70-73), the undersigned recommends that this

theory of liability not be permitted going forward. See Broidy Cap. Mgmt. LLC, 2020 WL

1536350, at *13.

       However, here, Plaintiff has argued that Defendants are also primarily liable under

the DTSA because they themselves obtained Plaintiff’s trade secrets. (See Docket Entry 34

at 17.) The DTSA defines misappropriation as the “acquisition of a trade secret of another

by a person who knows or has reason to know that the trade secret was acquired by

improper means.”      18 U.S.C. § 1839(5)(A).      Plaintiff’s complaint clearly alleges that

Defendants knew Plaintiff’s trade secrets were acquired improperly, in addition to alleging

that “at least some of that data [that CyberRoot obtained through the hacking] was provided

to Del Rosso, who was located in North Carolina.” (Comp. ¶ 19.) Thus, Plaintiff has

sufficiently alleged the element of misappropriation as to Defendants.

       Second, the undersigned finds that Plaintiff has alleged his ownership of trade secrets

and their implication in interstate or foreign commerce with sufficient particularity at this

early stage in the litigation. The DTSA’s definition of trade secrets is broad. See 18 U.S.C.

1839(3) (defining trade secrets as “all forms and types of financial, business, scientific,

technical, economic, or engineering information” that the owner has taken reasonable

measure to keep secret and that derives independent economic value from its secrecy). In

addition, the DTSA does not “include an express requirement that a plaintiff identify its


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trade secret with reasonable particularity to state a claim. Thus, to survive a motion to

dismiss under the DTSA . . . a claimant ‘need only plausibly plead’ that a defendant acquired

the trade secrets at issue by improper means.”           Heska Corp. v. Qorvo US, Inc., No.

1:19CV1108, 2020 WL 5821078, at *4 (M.D.N.C. Sept. 30, 2020) (quoting OROS, Inc. v.

Dajani, No. 1:19-cv-351, 2019 WL 2361047, at *5 (E.D. Va. June 4, 2019)).

       Plaintiff alleges that his trade secrets included private email communications, banking

records, “highly confidential business plans and proposals, research supporting those plans

and proposals (including costs and service projections), information concerning business

strategies and opportunities, . . . contacts for important business relationships,” “confidential

internal pricing lists” and “spreadsheets connected to contracts with the United States

government” relating to food transport for U.S. troops in Afghanistan. (Compl. ¶¶ 18, 52,

102, 108.) Plaintiff alleges that he “has always maintained his information on secured servers

that are protected by passwords, firewalls, and antivirus software” and that his trade secrets

derive economic value from not being generally known.         (Id. ¶ ¶ 66-67.) Furthermore, to

the extent that Plaintiff has alleged that his business involves the transportation of supplies

to Afghanistan, he has sufficiently established the interstate or foreign commerce element of

his claim. See Philips N. Am. LLC, 2020 WL 5407796, at *11 (“At the motion to dismiss

stage, it is sufficient that [plaintiff] alleges that its . . . business is both national and

international. As a result, the court may easily infer that the purported information relates to

services used and intended for use in interstate and foreign commerce.”). Thus, Plaintiff has

plausibly pled his ownership of trade secrets.




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       Third, while Plaintiff’s complaint does not state definitively when the

misappropriation of his information occurred, there are allegations suggesting that it

happened in or around August 2016, several months after the DTSA’s May 2016 enactment.

(See Compl. ¶¶ 20-21, 32, 35.) For these reasons, the undersigned does not recommend

dismissing Plaintiff’s misappropriation of trade secrets (Count III) claim at this stage with

the caveat that Plaintiff not be permitted to advance theories of conspiracy or secondary

liability going forward. See Broidy Cap. Mgmt. LLC, 2020 WL 1536350, at *13 (“[Plaintiff]

must prove that each defendant individually misappropriated at least one trade secret.”)

(emphasis added).

               d. Identity Theft (Count VI)

       Plaintiff brings claim for identity theft pursuant to N.C. Gen Stat. §§ 14-113.20 and 1-

539.2C. (See Compl. ¶¶ 86-90.) Section 14-113.20 is a state criminal statute providing that

               A person who knowingly obtains, possesses, or uses identifying
               information of another person, living or dead, with the intent to
               fraudulently represent that the person is the other person for
               the purposes of making financial or credit transactions in the
               other person’s name, to obtain anything of value, benefit, or
               advantage, or for the purpose of avoiding legal consequences is
               guilty of a felony.

N.C. Gen Stat. § 14-113.20(a). Section 14-113.22(b) provides that “any person who commits

an act made unlawful by Section 14-113.20 “may also be liable for damages under [Section]

1-539.2C.” Section 1-539.2C creates a private right of action for “[a]ny person whose

property or person is injured by reason of an act made unlawful by Article 19C of Chapter

14 of the General Statutes . . . .”




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       Defendants argue that Plaintiff’s Complaint fails to state a claim for identity theft

because it “does not allege that Defendants used any of his ‘identifying information’ to

‘fraudulently represent’ to others that they were Azima.” (Docket Entry 32 at 23.) In

response, Plaintiff points to his allegation in the complaint that Defendants hacked Plaintiff’s

computer network to obtain his passwords and other information “with the intent to

fraudulently represent that Defendants were the Plaintiff for the purposes of obtaining

materials of value, benefit, and advantage.” (Docket Entry 34 at 19 (quoting Compl. ¶ 87).)

       While Plaintiff has properly recited the language of the statute, a cause of action must

contain more than “a formulaic recitation of the elements” to survive a motion to dismiss.

Atlantic v. Twombly, 550 U.S. 544, 555 (2007).          Plaintiff has alleged that Defendants

orchestrated the sending of phishing and spear phishing emails to obtain access to Plaintiff’s

accounts, but the undersigned cannot identify specific factual allegations in the complaint

demonstrating that Defendants made representations to any other individual or entity that

they were Plaintiff. Therefore, Plaintiff has not plausibly stated a claim for relief on the basis

of identity theft and this claim should be dismissed. See Best v. Cequel, No. 4:14-CV-61-FL,

2014 WL 6453960, at *4 (E.D.N.C. Nov. 17, 2014), aff’d, 598 F. App’x 178 (4th Cir. 2015)

(dismissing plaintiff’s identity theft claim where complaint failed to allege that defendants

“used plaintiff’s identifying information with the intent to fraudulently represent themselves

as plaintiff, as required by N.C. Gen. Stat. § 14–113. 20”).

               e. Publication of Personal Information (Count VII)

       Plaintiff brings this claim pursuant to N.C. Gen. Stat. § 75-66 (see Compl. ¶¶ 91-100),

which provides that


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              It shall be a violation of this section for any person to
              knowingly broadcast or publish to the public on radio,
              television, cable television, in a writing of any kind, or on the
              Internet, the personal information of another with actual
              knowledge that the person whose personal information is
              disclosed has previously objected to any such disclosure.

       Defendants argue that Plaintiff’s complaint fails to state a claim for relief under this

statute because “he does not allege that he previously objected to the disclosure of any such

information or that Defendants had ‘actual knowledge’ of such an objection, both of which

are required to state a claim under the statute.” (Docket Entry 32 at 23.) Plaintiff responds

that Defendants published Plaintiff’s personal information on blog sites in 2018 and 2019

after Plaintiff “responded to the complaint in England by claiming his data was illegally

hacked.” (Docket Entry 34 at 19 (citing Compl. ¶ 93; Docket Entry 31-2 at 13 (judgment in

English proceeding)). By referring to the judgment in the English case attached as an exhibit

to Defendants’ motion to dismiss, Plaintiff concedes that his complaint does not contain

facts to support the objection element of his publication claim. A court may consider

matters of public record when considering a motion to dismiss.             U.S. ex rel. Oberg v.

Pennsylvania Higher Educ. Assistance Agency, 745 F.3d 131, 136 (4th Cir. 2014) (“[I]n reviewing a

Rule 12(b)(6) dismissal . . . we may properly take judicial notice of matters of public record,

including statutes.”) (internal quotations omitted). However, the first page of the judgment

Plaintiff refers to makes it clear that neither Del Rosso nor Vital were named as defendants

in that lawsuit. (See Docket Entry 31-2 at 1 (listing RAKIA as the sole defendant).) Plaintiff

has alleged that Defendant Del Rosso provided a witness statement and witness testimony in

the English lawsuit (see Compl. ¶ 8), but there is no indication that he did those things prior

to the publication of his stolen data in 2018 and 2019. (See Docket Entry 31-2 (indicating

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that hearings for the case not held until January and February 2020).) Thus, to the extent

that Plaintiff’s response to RAKIA in the English lawsuit could constitute an objection to

the disclosure of his information, the undersigned cannot plausibly infer that Defendants

had actual knowledge of such an objection before they committed any of the alleged

disclosures of Plaintiff’s personal information. Therefore, the undersigned recommends

dismissing this claim. See In re Winter, 2015 WL 5063953, at *3 (Bankr. E.D.N.C. Aug. 26,

2015) (dismissing publication of personal information claim because “the Plaintiffs have not

provided evidence of any prior objection to the disclosure of their personal information”).

              f. Violation of Trade Secrets Protection Act (Count VIII)

       Plaintiff brings this claim pursuant to the North Carolina Trade Secrets Protection

Act (“TSPA”), N.C. Gen. Stat. § 66-153 et seq. (See Compl. ¶¶ 101-18.) Defendants argue

that Plaintiff’s claim fails because he has not identified a trade secret with sufficient

particularity. (Docket Entry 32 at 24.) Defendants are correct that to state a claim for

violation of the TSPA, “[t]he alleged trade secret information must be identified ‘with

sufficient particularity so as to enable a defendant to delineate that which he is accused of

misappropriating and a court to determine whether misappropriation has or is threatened to

occur.’” Asheboro Paper & Packaging, Inc. v. Dickinson, 599 F. Supp. 2d 664, 676 (M.D.N.C.

2009) (quoting Analog Devices, Inc. v. Michalski, 579 S.E.2d 449, 453 (N.C. Ct. App. 2003)).

However, “[c]ustomer pricing lists, cost information, confidential customer lists, and pricing

and bidding formulas can constitute trade secrets.” Sunbelt Rentals, Inc. v. Head & Engquist

Equip., L.L.C., 620 S.E.2d 222, 226 (N.C. Ct. App. 2005).




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       As discussed above under the analysis for Plaintiff’s federal misappropriation of trade

secrets claim, Plaintiff has alleged that his trade secrets included “confidential internal price

lists and confidential spreadsheets connected to contracts with the United States government

to supply troops in Afghanistan.” (Compl. ¶ 108.) Therefore, the undersigned finds that

Plaintiff has alleged violation of the TSPA with sufficient particularity at this early stage in

the litigation and does not recommend dismissing Count VIII of Plaintiff’s complaint.

              g. Unfair and Deceptive Trade Practices (Count IX)

       Plaintiff brings his ninth claim pursuant to North Carolina’s Unfair and Deceptive

Trade Practices Act (“UDTPA”), N.C. Gen. Stat. § 75-1.1 et seq. (See Compl. ¶¶ 119-29.)

The UDTPA prohibits “unfair or deceptive acts or practices in or affecting commerce.”

N.C. Gen. Stat. § 75-1.1(a). Defendants argue that Plaintiff fails to state a claim under the

UDTPA because “he has not sufficiently alleged an unfair or deceptive act or practice by

Defendants or that any such act had the capacity or tendency to deceive the average

consumer,” and that Plaintiff fails to allege that Defendants’ deceptive practices arose from

commercial activities “in or affecting commerce.”          (Docket Entry 32 at 25 (internal

quotations omitted).)

       “The North Carolina Supreme Court has held that § 75-1 is intended to ‘regulate two

types of interactions in the business setting: (1) interactions between businesses, and (2)

interactions between businesses and consumers.’” McClean v. Duke Univ., 376 F. Supp. 3d

585, 608 (M.D.N.C. 2019) (quoting White v. Thompson, 691 S.E.2d 676, 679-80 (N.C. 2010)).

While the statute “affords broad relief to individual consumers,” North Carolina courts

“have viewed the rights of businesses to sue other businesses for violations of the UD[T]PA


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with a much more skeptical eye.” Exclaim Mktg., LLC v. DirecTV, LLC, 134 F. Supp. 3d

1011, 1020 (E.D.N.C. 2015), aff’d, 674 F. App’x 250 (4th Cir. 2016); see also Dalton v. Camp,

548 S.E.2d 704, 710 (N.C. 2001) (“The [UDTPA] was intended to benefit consumers . . . but

its protections extend to businesses in appropriate situations.”). Indeed, the statute “gives a

business a cause of action against another business only where: 1) the plaintiff-business is in

the marketplace acting as a consumer or is otherwise engaged in commercial dealing with

defendant, 2) the businesses are competitors, or 3) the conduct giving rise to the cause of

action has a negative effect on the consuming public.” Id. (internal quotations omitted).

       Here, Plaintiff describes himself as “a successful businessman who has owned and

operated multiple aviation related companies,” while Defendant Del Rosso is the owner of

Defendant Vital, which provides investigative services. (Compl. ¶¶ 10-11.) The complaint

does not contain any allegation that Plaintiff was engaged in commercial dealing with

Defendants or that Plaintiff’s companies and Vital are competitors. Nor has Plaintiff alleged

that the deceptive acts by Defendants have negatively affected the consuming public.

Indeed, Plaintiff only alleges injury to himself as a result of Defendants’ acts. (Id. ¶¶ 126-

27.) For these reasons, the undersigned concludes that Plaintiff has failed to allege that

Defendants engaged in the type of deception that the UDTPA is intended to prevent. See

Prince v. Wright, 541 S.E.2d 191, 197 (N.C. Ct. App. 2000) (“[T]he fundamental purpose of

G.S. § 75–1.1 is to protect the consuming public.”). Therefore, it is recommended that

Count IX of Plaintiff’s complaint be dismissed.




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                h. Civil Conspiracy (Count X)

        Plaintiff’s tenth cause of action is one for civil conspiracy pursuant to North Carolina

common law. (See Compl. ¶¶ 130-35.) Plaintiff alleges that Defendants and their co-

conspirators “wrongfully entered into an agreement to commit unlawful acts resulting in

injury to Azima . . . .” (Id. ¶ 131.) Defendants argue that this claim should be dismissed

because “there is no standalone claim for civil conspiracy under North Carolina law,” and

that Plaintiff has made only conclusory assertions that there was a conspiracy between

Defendants and others. (Docket Entry 32 at 26.)

        While it is true that under North Carolina law “[t]here is no independent cause of

action for civil conspiracy,” a plaintiff may state a claim for civil conspiracy where there is an

underlying claim for unlawful conduct and the plaintiff has alleged “the agreement of two or

more parties to carry out the conduct and injury resulting from that agreement.” Toomer v.

Garrett, 574 S.E.2d 76, 92 (N.C. Ct. App. 2002); see also Swain v. Elfland, 387, 550 S.E.2d 530,

534 (N.C. Ct. App. 2001) (“A claim for conspiracy . . . cannot succeed without a successful

underlying claim . . . .”) (alterations in original).

        Here, the undersigned has found that Plaintiff has successfully plead claims for

misappropriation of trade secrets, violation of the Trade Secrets Protection Act, and

invasion of privacy.       (See Sections I.A.2(c) and (f) supra and Section 1.A.2.(i) infra.)

Furthermore, Plaintiff has adequately alleged an agreement between Defendants, Dechert

LLP, and CyberRoot and an injury to himself resulting from that agreement. Plaintiff alleges

that Dechert LLP hired and paid Defendants “more than $1 million” to hack him. (Compl.

¶¶ 1-2, 7, 13, 27-28.) Plaintiff also alleges that “Defendants paid CyberRoot more than $1


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million for the hacking of Azima and the dissemination of his stolen data” and directed

CyberRoot to send phishing emails to Plaintiff. (Id. ¶ 5; see also id. ¶¶ 20, 29-32.) However,

the undersigned agrees with Defendants that Plaintiff has not adequately alleged an

agreement between Defendants and BellTroX. (See id. ¶¶ 16-17 (indicating that “CyberRoot

was assisted by BellTroX” and that the companies “share common employees” but making

no allegations that Defendants paid or directly communicated with BellTroX about the

hacking).) For these reasons, the undersigned finds that Plaintiff has stated a plausible claim

for civil conspiracy based on an agreement between Defendants, Dechert LLP, and

CyberRoot, and therefore does not recommend dismissing Count X of Plaintiff’s complaint

at this time.

                i. Invasion of Privacy by Intrusion into Seclusion (Count XI)

       Plaintiff’s final claim is for invasion of privacy by intrusion into seclusion, which he

brings pursuant to North Carolina common law. (See id. ¶¶ 136-39.) “North Carolina

recognizes the tort of intrusion of seclusion when ‘[o]ne who intentionally intrudes,

physically or otherwise, upon the solitude or seclusion of another or his private affairs or

concerns, is subject to liability to the other for the invasion of his privacy, if the intrusion

would be highly offensive to a reasonable person.’” Musenge v. SmartWay of the Carolinas, LLC,

No. 3:15-CV-153-RJC-DCK, 2018 WL 4440718, at *5 (W.D.N.C. Sept. 17, 2018) (quoting

Miller v. Brooks, 472 S.E.2d 350, 354 (N.C. Ct. App. 1996)). Defendants argue that dismissal

of this claim is warranted because Plaintiff “has not alleged an intrusion into his personal

affairs that is highly offensive to a reasonable person.” (Docket Entry 32 at 25 (internal

quotations omitted).)


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       “Generally, there must be a physical or sensory intrusion or an unauthorized prying

into confidential personal records to support a claim for invasion of privacy by intrusion.”

Broughton v. McClatchy Newspapers, Inc., 161 N.C. App. 20, 29, 588 S.E.2d 20, 27 (2003); see also

Berg v. Murratti, No. 3:17CV491, 2017 WL 5340383, at *2 (W.D.N.C. Nov. 13, 2017)

(quoting Toomer, 574 S.E.2d at 90) (“Examples of recognized intrusions upon seclusion

include ‘physically invading a person’s home or other private place, eavesdropping by

wiretapping or microphones, peering through windows, persistent telephoning, unauthorized

prying into a bank account, and opening personal mail of another.’” Berg v. Murratti, No.

3:17CV491, 2017 WL 5340383, at *2 (W.D.N.C. Nov. 13, 2017) (quoting Toomer, 574 S.E.2d

at 90). Plaintiff has alleged that Defendants accessed his “confidential business information,

and personal information and communications” such as “confidential legal communications

and advice and confidential internal pricing lists” by directing the hacking of his email

accounts and computers. (See, e.g., Compl. ¶ 16-18, 90.) At the motion to dismiss stage, the

undersigned finds that these allegations are sufficient to state a plausible claim for intrusion

into seclusion. Therefore, the undersigned recommends denying Defendants’ motion to

dismiss as to Count XI of Plaintiff’s complaint.

       In summary, the undersigned recommends denying Defendants’ motion to dismiss as

to Plaintiff’s claims for misappropriation of trade secrets (Count III), violation of the Trade

Secrets Protection Act (Count VIII), civil conspiracy (Count X), and intrusion into seclusion

(Count XI). As to Plaintiff’s other seven claims, the undersigned recommends granting

Defendants’ motion for the reasons stated herein.




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   B. Plaintiff’s motion for leave to supplement his response to Defendants’ motion
      to dismiss

       In this motion, Plaintiff asks the Court to consider newly discovered bank records in

its analysis of Defendant’s motion to dismiss. (Docket Entry 45.)          Defendants filed a

response in opposition to Plaintiff’s motion. (Docket Entry 47.) Apparently records from

Kotak Mahindra Bank were submitted to this Court in conjunction with an ex parte

application for an order under 28 U.S.C. § 1782 to serve subpoenas on Defendants to obtain

discovery materials for use in legal proceedings in the United Kingdom.               (Id. at 2

(referencing In Re Application of Al Sadeq and Stokoe Partnership Solicitors, No. 1:21-MC-00006

(M.D.N.C. Feb. 5, 2021)).) According to Plaintiff’s motion, these records show 51 payments

received by CyberRoot from Defendant Vital between 2016 and 2017 totaling more than $1

million. (Id. at 2-3.) Plaintiff contends that these records controvert Defendants’ denial of

Plaintiff’s allegations that they were involved in ongoing conduct related to the hacking

continuing into 2019. (Id. at 4.) Plaintiff asserts that by making this denial, “Defendants

have opened the door to the Court’s considering the newly discovered bank records in

connection with Defendants’ pending motion [to dismiss].” (Id.)

       First, at the motion to dismiss stage, the “court accepts all well-pled facts as true and

construes these facts in the light most favorable to the plaintiff.” Nemet Chevrolet, Ltd., 591

F.3d at 255. As Defendants properly point out (see Docket Entry 47 at 8), Plaintiff’s

complaint already contains repeated allegations that Defendants paid CyberRoot $1 million.

(Compl. ¶¶ 5, 29, 52, 55, 57, 73, 79, 85, 115, 133.) Plaintiff has also alleged that the

payments “made by Vital were sent to Cyber Root’s bank, Kotak Mahindra Bank . . . around

the time that Azima’s stolen data was published online in August and September 2016.” (Id.

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¶¶ 31-32.)   Therefore, because the bank records merely duplicate allegations already

contained in Plaintiff’s complaint, the Court sees no reason to consider them at this stage.

See Cabrera Mejia v. Wal-Mart, No. 1:14CV237, 2014 WL 5531432, at *2 (M.D.N.C. Nov. 3,

2014), aff’d sub nom. Mejia v. Wal-Mart, 599 F. App’x 520 (4th Cir. 2015) (“Because these

filings provide no new factual allegations but simply repeat allegations from the complaint

and its attachments, this court need not determine whether it should consider those later-

filed documents.”)

       Second, “[e]ven though matters outside the pleadings are generally not considered on

a Rule 12(b)(6) motion, . . . the court can consider documents attached to the complaint,

documents incorporated by reference in the complaint, or matters of judicial notice without

converting a motion to dismiss into one for summary judgment.”             Shore v. Charlotte-

Mecklenburg Hosp. Auth., 412 F. Supp. 3d 568, 573 (M.D.N.C. 2019), appeal dismissed, No. 19-

2086, 2019 WL 8359567 (4th Cir. Dec. 16, 2019) (internal quotations and citations omitted).

“The court may take judicial notice of public documents and government documents

because their sources cannot reasonably be questioned.” Id. (internal quotations omitted); see

also Fed. R. Evid. 201(b) (“The court may judicially notice a fact that is not subject to

reasonable dispute because it: (1) is generally known within the trial court’s territorial

jurisdiction; or (2) can be accurately and readily determined from sources whose accuracy

cannot reasonably be questioned.”). However, the bank records Plaintiff asks the Court to

consider were not exhibits attached to the complaint nor were they incorporated by

reference therein. Furthermore, the bank records are not a matter of public record nor is

their accuracy beyond question. The Court cannot take judicial notice of the bank records


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and therefore cannot properly consider them at this time. For these reasons, the Court will

deny Plaintiff’s motion.

   C. Plaintiff’s motions to schedule an initial pretrial conference or commence
      discovery

       Shortly after Defendants filed their motion to dismiss, Plaintiff filed a motion asking

the Court “to schedule an initial pretrial conference and to initiate Rule 26(f) and Local Rule

16.1(f) conferences and reporting process,” or alternatively, “issue an order commencing

discovery pending a pretrial conference to be set on a later date.” (Docket Entry 36 at 1.)

Plaintiff states that because several months have passed since he filed his complaint, further

delays in commencing discovery are not warranted by good cause or the federal and local

rules. (Docket Entry 37 at 3.)     Defendants responded in opposition, noting that there is

“no obligation for the parties to hold a Rule 26(f) conference where the initial pretrial

conference had not yet been scheduled.” (Docket Entry 43 at 8-9 (citing Williams v. Pegasus

Residential, LLC, 2019 WL 8586707, at *1 (M.D.N.C. May 3, 2019).)

       On July 1, 2021, Plaintiff filed a renewed motion to schedule an initial pretrial

conference or otherwise commence discovery. (Docket Entry 52.) In addition to renewing

the arguments made in his prior motion, Plaintiff also states that he urgently seeks leave to

serve third-party subpoenas on Bank of America to obtain records showing payments

between Dechert LLP and Defendants dating back to August 2014. (Id. at 4.) Plaintiff

states that these records that will not be retained after August 31, 2021, per the bank’s seven-

year retention policy. (Id. at 4.) Defendants oppose this motion as procedurally improper.

(Docket Entry 53 at 4 (“The relevant Federal and local rules of civil procedure provide no

avenue for a party to make a motion to ‘renew’ an already-filed and referred motion.”).)

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Defendants also argue that Plaintiff has not shown why Bank of American records dating

back to 2014 are relevant to his claims, and that in any case, it is “in the Court’s discretion to

address the pending dispositive motion before scheduling an initial pretrial conference or

authorizing discovery to commence.” (Id. at 4-5.)

       Federal Rule of Civil Procedure 26 requires parties to “confer as soon as practicable--

and in any event at least 21 days before a scheduling conference is to be held or a scheduling

order is due under Rule 16(b)” unless “the court orders otherwise.” Fed. R. Civ. P. 26(f).

Local Rule 16.1(b) provides that “the parties must hold their [Rule] 26(f) meeting at least 14

days before the scheduled initial pretrial conference and submit to the Court their report

within 10 days thereafter.” M.D.N.C. LR 16.1(b). In addition, the Court has discretionary

authority to manage its own docket. See Landress v. Tier One Solar LLC, 243 F. Supp. 3d 633,

646 (M.D.N.C. 2017) (internal quotation and citation omitted) (“Proper use of this authority

requires the court to exercise its judgment to balance the various factors relevant to the

expeditious and comprehensive disposition of the causes of action on the court's docket.”);

Marryshow v. Flynn, 986 F.2d 689, 693 (4th Cir. 1993) (“[B]road discretion is given to the trial

court to manage its docket.”).

       Here, the Court has not scheduled an initial pretrial conference, nor have Defendants

filed an answer in this matter. The undersigned magistrate judge has recommended herein

the dismissal of several of Plaintiff’s claims. However, this recommendation awaits a final

ruling by the district court judge, which will determine the scope of the case going forward.

Given the general local practices in this district and considering the Court’s discretionary

authority to manage its cases on its docket, the Court finds that it is not “practicable” for the


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parties to confer regarding discovery at this time. The Court declines to schedule an initial

pretrial conference or otherwise order the commencement of general discovery before there

has been a final ruling on Defendants’ motion to dismiss.

       However, according to Plaintiff’s representations, Plaintiff’s ability to subpoena

records showing payments between Defendants and Dechert LLP in the possession of third-

party Bank of America may be limited after August 31, 2021. (See generally Docket Entry 52.)

Such documents may have some bearing on Plaintiff’s civil conspiracy claim (for which the

undersigned has not recommended dismissal) insofar as Plaintiff has alleged a conspiracy

between Defendants and Dechert LLP. (See Compl. ¶¶ 13, 133.) Accordingly, the Court will

allow a brief period of very limited discovery so that Plaintiff may serve these subpoenas

upon third-party Bank of America. Plaintiff’s must serve the subpoenas upon Bank of

America on or before August 31, 2021, pursuant to the Federal Rule of Civil Procedure and

this Court’s local rules. No further discovery is permitted at this time. In all other respects,

Plaintiff’s requests to schedule an initial pretrial conference and commence discovery are

denied.

III. CONCLUSION

       IT IS HEREBY RECOMMENDED that Defendants’ motion to dismiss (Docket

Entry 31) be DENIED IN PART as to Counts III, VIII, X, and XI of Plaintiff’s complaint,

but GRANTED IN PART as to Plaintiff’s other seven claims.

       IT IS HEREBY ORDERED that Plaintiff’s motion for leave to file supplemental

materials in support of his response to Defendants’ motion to dismiss (Docket Entry 45) is

DENIED.


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       IT IS FURTHER ORDERED Plaintiff’s motion to schedule an initial pretrial

conference and initiate Rule 26(f) and Local Rule 16.1(f) conferences, or in the alternative, for

an order commencing discovery pending a pretrial conference to be set on a later date

(Docket Entry 36) and his renewed motion for the same purpose (Docket Entry 52) are

GRANTED IN PART to the extent that on or before August 31, 2021, Plaintiff may serve

subpoenas on third-party Bank of America requesting records of payments between

Defendants and Dechert LLP. In all other respects, Plaintiff’s two motions (Docket Entries

36 and 52) are DENIED.



                                                    _________________________
                                                            Joe L. Webster
                                                     United States Magistrate Judge


August 9, 2021
Durham, North Carolina




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